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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

                Plaintiff,

       v.                                        Civil Action No. 19-2184 (TJK)

FACEBOOK, INC.,

                Defendant.


                                         ORDER

      For the reasons set forth in the Court’s accompanying memorandum opinion, it is hereby

ORDERED that Defendant’s Motion to Enforce the Stipulated Order and to Enjoin the Adminis-

trative Reopening Proceeding of the Federal Trade Commission, ECF No. 38, is DENIED.

      SO ORDERED.

                                                        /s/ Timothy J. Kelly
                                                        TIMOTHY J. KELLY
                                                        United States District Judge

Date: November 27, 2023
